 Case 17-04034       Doc 69      Filed 03/08/18 Entered 03/08/18 16:57:38   Desc Main
                                   Document     Page 1 of 5



                 UNITED STATES BANKRUPTCY COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In re:                                           )
                                                 )     Case No. 17-04034
JASON LEWIS ZILBERBRAND,                         )
                                                 )     Hon. A. Benjamin Goldgar
               Debtor.                           )
                                                 )     Chapter 7

                                  NOTICE OF MOTION

To:      Attached Service List
     David Gassman has filed papers with the court to obtain relief from the
amended final pretrial order.
      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one).
      If you do not want the court to grant the relief sought in the motion, or if you
want the court to consider your views on the motion, then on March 12, 2018, you or
your attorney must:

       Attend the hearing scheduled to be held on March 12, 2018 at 9:30 AM in
Room 642 of the United States Bankruptcy Court for the Northern District of
Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois,

      If you or your attorney do not take these steps, the court may decide that you
do not oppose the relief sought in the motion or objection and may enter an order
granting that relief.

Date: March 8, 2018                              David Gassman

                                                 /s/ Paul M. Bauch
                                                 One of his attorneys
                                                 Paul M. Bauch (ARDC #6196619)
                                                 Carolina Y. Sales (ARDC #6287277)
                                                 BAUCH & MICHAELS, LLC
                                                 53 W. Jackson Boulevard, Suite 1115
                                                 Chicago, Illinois 60604
                                                 Tel.: (312) 588-5000
                                                 Fax: (312) 427-5709
 Case 17-04034     Doc 69    Filed 03/08/18 Entered 03/08/18 16:57:38    Desc Main
                               Document     Page 2 of 5


                            CERTIFICATE OF SERVICE

       The undersigned attorney certifies that on March 8, 2018, we caused this
document to be served upon the persons identified above or on the attached service
list by  personally delivering a copy to the recipient at his or her respective
address before 4:00 P.M; or  mailing a copy to the recipient at his or her respective
address by depositing the same in United States Post Office Box with proper first
class postage affixed thereto; or  personally delivering a copy to the recipient at
his or her respective facsimile transmittal number, this transmittal being sent from
a facsimile machine at 312-427-5709, and a copy of the facsimile transmittal record
being attached hereto; or  electronically delivering a copy through the Court’s
CM/ECF filing system.

                                       /s/ Paul M. Bauch


                                  SERVICE LIST

Via CM/ECF to
Ilene F. Goldstein, Esq., ifgcourt@aol.com
Jeffrey C. Dan, jdan@craneheyman.com
Patrick S. Layng, USTPRegion11.ES.ECF@usdoj.gov




                                          2
 Case 17-04034        Doc 69   Filed 03/08/18 Entered 03/08/18 16:57:38        Desc Main
                                 Document     Page 3 of 5


                    UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

In re:                                           )
                                                 )     Case No. 17-04034
JASON LEWIS ZILBERBRAND,                         )
                                                 )     Hon. A. Benjamin Goldgar
                Debtor.                          )
                                                 )     Chapter 7

                    DAVID GASSMAN’S MOTION FOR RELIEF
                   FROM AMENDED FINAL PRETRIAL ORDER

         David Gassman (“Gassman”), by and through his attorneys, Bauch &

Michaels, LLC, pursuant to Fed. R. Civ. P. 60 and Fed. R. Bankr. P. 9024, hereby

moves this Court for relief from the Amended Final Pretrial Order (the “Order”)

[ECF No. 41].

                                 I.    JURISDICTION

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1334 and 157.

         2.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                 II.    BACKGROUND

         3.     On February 13, 2017 (the “Petition Date”), the Debtor filed a

voluntary petition for relief under Chapter 7, Title 11 of the United States Code, 11

U.S.C. §§ 101 et seq., (the “Bankruptcy Code”), in the United States Bankruptcy

Court for the Northern District of Illinois, Eastern Division (the “Court”).

         4.     Gassman is a creditor who holds an unsatisfied judgment and other

claims against the Debtor. On August 4, 2017, Gassman filed a Motion to Dismiss

the Debtor’s bankruptcy case pursuant to Section 707(a) of the Bankruptcy Code
 Case 17-04034     Doc 69    Filed 03/08/18 Entered 03/08/18 16:57:38     Desc Main
                               Document     Page 4 of 5


under the principles set forth in In re Schwartz, 799 F. 3d 760 (7th Cir. 2015) [ECF

No. 24].

      5.     On December 6, 2017, this Court entered its Final Amended Pretrial

Order, which set deadlines for discovery and pretrial filings [ECF No. 41]. The

Motion to Dismiss is set for trial on March 14, 2018.

                                III.   ARGUMENT

      6.     Pursuant to Fed. R. Civ. P. 60, made applicable to this proceeding by

Fed. R. Bankr. P. 9024, the Court may grant relief from an order as a result of

“mistake, inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b)(1). “The

court may correct a . . . mistake arising from oversight or omission whenever one is

found in a judgment, order, or other part of the record. The court may do so on

motion or on its own, with or without notice.” In re Jesus Enrique Batista-Sanechez,

No. 12-48247, 2014 Bankr. LEXIS 403, at *1-2 (Jan. 27, 2015).

      7.     The Order requires the parties to file exhibit and witness lists by

February 21, 2018, exchange copies, and deliver the lists and exhibits to the Court.

Gassman filed an exhibit list and witness list on the February 21, 2018 deadline

and delivered the lists and exhibits to the Court and the Debtor. Gassman produced

Exhibits 12-2, 12-3, and 13-2 (summaries of financial transactions) to the Debtor

and included them on his exhibit list but inadvertently failed to provide them to the

Court. In addition, Gassman has amended Exhibits 12-2 and 12-3 (attached hereto)

to provide further clarity. Gassman also seeks to include a supplemental exhibit

(Exhibit 4-1): the Debtor’s Amended Schedule A/B filed on March 7, 2018, which



                                          2
 Case 17-04034      Doc 69    Filed 03/08/18 Entered 03/08/18 16:57:38   Desc Main
                                Document     Page 5 of 5


includes a $1.2 million claim against Gassman for “slander, libel and harassment”

[ECF No. 62].

      8.     Moreover, Gassman seeks leave to have his amended witness list

deemed timely filed on March 7, 2018, when the oversight was brought to his

attention [ECF No. 67]. Gassman’s original witness list mistakenly omitted the

“brief description of the subject matter of the witness’s testimony” [ECF No. 57].

The amended witness list includes detailed descriptions of the witnesses’ testimony.

These witnesses are individuals who are known to the Debtor, and the Debtor could

already anticipate the subject matter of their testimony. In fact, the Debtor is the

primary witness that Gassman intends to call at the hearing.

      WHEREFORE, Gassman prays that this Court grant relief from the Order to

(1) permit Gassman to submit Exhibit 4-1 and 13-2, as well as amended Exhibits

12-2 and 12-3; (2) grant leave to amend his witness list; and (3) for such other and

further relief as is appropriate.

Dated: March 8, 2018                          David Gassman

                                              /s/ Paul M. Bauch
                                              One of his attorneys

                                              Paul M. Bauch (ARDC #6196619)
                                              Carolina Y. Sales (ARDC #6287277)
                                              BAUCH & MICHAELS, LLC
                                              53 W. Jackson Boulevard, Suite 1115
                                              Chicago, Illinois 60604
                                              Tel.: (312) 588-5000
                                              Fax: (312) 427-5709




                                          3
